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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               FT. LAUDERDALE DIVISION
                                   www.flsb.uscourts.gov

In re:

LIBERTY POWER HOLDINGS, LLC,                                   Case No.: 21-13797-SMG
                                                               Chapter 11
  Debtor.
____________________________________/

                            MOTION TO APPEAR PRO HAC VICE

         I, Daniel N. Gonzalez (“Movant”), a member in good standing of the bar of the United

States District Court for the Southern District of Florida and qualified to practice in this court,

request that this court admit pro hac vice Abigail O’Brient, Esq., (“Visiting Attorney”), attorney

admitted to practice and currently in good standing in the United States District Court for the

Central, Eastern, Northern and Southern Districts of California and qualified to practice in this

court, who proposes to act as counsel for Liberty Power Corp., LLC (“LPC” or the “Client”) in

the case listed above-listed case.

         1.    I am aware that the local rules of this court require a member in good standing of

the bar of the United States District Court for the Southern District of Florida and qualified to

practice in this court to act as local counsel for such Client, unless the court specifically authorizes

an attorney not so admitted to act as local counsel. I understand that local counsel is required to

participate in the preparation and presentation of, and accept service of all papers in, the case

identified above in which the Visiting Attorney appear on behalf of such Client.

         2.    I am a member in good standing of the bar of the United States District Court for

the Southern District of Florida and qualified to practice in this court, and agree to act as local




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counsel for the above-referenced Client in this case and in any adversary proceedings in this case

in which the Visiting Attorney appear on behalf of the Client. I understand that I am required to

participate in the preparation and the presentation of the case above and to accept service of all

papers served in such case and proceedings.

       3.         The order granting this Motion will serve to admit the Visiting Attorney to practice

in the case noted above on behalf of the Client in which the Visiting Attorney appear on behalf of

such Client. I understand that if I decline to serve as local counsel in any such adversary

proceeding, separate local counsel must file an additional Motion to Appear Pro Hac Vice, and

that absent such separate motion and an order of this court approving the same I will continue to

act as local counsel for the Client in all such proceedings.

       4.         The declaration of the Visiting Attorney required under Local Rule 2090-1(C)(2)

is attached hereto as Exhibit A.

       5.         A proposed order is attached hereto as Exhibit B.

       WHEREFORE, upon the foregoing representations, Movant respectfully requests an order

of this Court authorizing the Visiting Attorney to appear pro hac vice in this case on behalf of the

Client and indicating Movant as local counsel for the Client, and for such other and further relief

as may be just.




            [Remainder of Page Intentionally Left Blank. Next Page Is Signature Page.]




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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served on

April 22, 2021 via the Court's Notice of Electronic Filing upon the Registered Users listed on

the attached Exhibit 1.



                                                 /s/Daniel N. Gonzalez
                                                 Daniel N. Gonzalez, Esq.
                                                 Florida Bar No. 938777
                                                 dgonzalez@melandbudwick.com
                                                 MELAND BUDWICK, P.A.
                                                 3200 Southeast Financial Center
                                                 200 South Biscayne Boulevard
                                                 Miami, Florida 33131
                                                 Telephone: (305) 358-6363
                                                 Telecopy: (305) 358-1221

                                                 Counsel for Liberty Power Corp., LLC




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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                              FT. LAUDERDALE DIVISION
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In re:

LIBERTY POWER HOLDINGS, LLC,                                    Case No.: 21-13797-SMG
                                                                Chapter 11
      Debtor.
____________________________________/

                   AFFIDAVIT OF PROPOSED VISITING ATTORNEY

       I, ABIGAIL O’BRIENT, am a member in good standing of the bar of the State of
California. I am a member in good standing of the bars of the United States District Court for
Central, Eastern, Northern and Southern Districts of California, but am not admitted to the bar of
the United States District Court for the Southern District of Florida.

        I certify that I have never been disbarred, that I am not currently suspended from the
practice of law in the State of Florida or any other state, and that I am not currently suspended
from the practice of law before any United States Court of Appeals, United States District Court,
or United States Bankruptcy Court.

        I hereby request authority to appear pro hac vice in this case and in any adversary
proceedings in this case on behalf of Liberty Power Corp., LLC (the “Client”). I designate Daniel
N. Gonzalez, Esq., of Meland Budwick, P.A. (“Local Counsel”), who is qualified to practice in
this court, as local counsel for the Client. I understand that Local Counsel is required to
participate in the preparation and the presentation of the case above and any adversary
proceedings in which I appear on behalf of Client, and accept service of all papers served in such
case and proceedings, unless and until other local counsel is designated and accepts such
designation by filing a separate Motion to Appear Pro Hac Vice on my behalf.

        I certify that I am familiar with and shall and shall be governed by the local rules of this
court, the rules of professional conduct and all other requirements governing the professional
behavior of members of the Florida Bar.

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{02605097.DOC.}
                                                                                     EXHIBIT A
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       I declare under penalty of perjury that the foregoing is true and correct. Executed on
April 22, 2021.



                                                  Abigail O’Brient, Esq.
                                                  Mintz, Levin, Cohn, Ferris, Glovsky
                                                  and Popeo, P.C.
                                                  Century Plaza Towers
                                                  2029 Century Park East, Suite 3100
                                                  Los Angeles, CA 90067
                                                  T: 310-586-3200
                                                  Email: AOBrient@mintz.com
                                                  California Bar No. 265704

                                                  BY:________________________________




{02605097.DOC.}
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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                             FT. LAUDERDALE DIVISION
                                 www.flsb.uscourts.gov

In re:

LIBERTY POWER HOLDINGS, LLC,                                         Case No.: 21-13797-SMG
                                                                     Chapter 11
      Debtor.
____________________________________/
                    ORDER ADMITTING ATTORNEY PRO HAC VICE

         This matter came before the court upon the Motion to Appear Pro Hac Vice [ECF No.

 __]. The court having reviewed the motion and good cause appearing, it is

         ORDERED that

         1.    Abigail O’Brient, Esq. (“Visiting Attorney”) may appear before this court pro hac

vice as counsel for Liberty Power Corp., LLC (the “Client”) in this case where Visiting

Attorney appear on behalf of Client, subject to the local rules of this court. Visiting Attorney

shall include the certification required by Local Rule 9011-4(B)(2) in all papers filed with this

court.

         2.    Visiting Attorney may apply to become a registered user of CM/ECF in this
                                                1



                                                                                     EXHIBIT B
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district with full filing privileges in this case and in any other case in which this court has entered

an order admitting Visiting Attorney pro hac vice.

       3.      The following attorney (“Local Attorney”) is designated as the attorney qualified

to practice in this court with whom the court and other counsel may readily communicate and

upon whom papers may be served:

                                    Daniel N. Gonzalez, Esquire
                                        Fla. Bar No. 938777
                                  dgonzalez@melandbudwick.com
                                    MELAND BUDWICK, P.A.
                                  3200 Southeast Financial Center
                                   200 South Biscayne Boulevard
                                       Miami, Florida 33131
                                    Telephone: (305) 358-6363
                                     Facsimile: (305) 358-1221

       Local Attorney shall act as the local attorney as required by Local Rule 2090-1(C)(2) in

this case and in each adversary proceeding in this case in which the Visiting Attorney appear on

behalf of the Client. If Local Attorney declines to serve as the local attorney in any such

adversary proceeding, a separate local attorney must file an additional Motion to Appear Pro

Hac Vice, and absent such separate motion and an order of this court approving the same Local

Attorney will continue to act as local attorney for the Client in all such proceedings.


                                                 ###




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Submitted by:
Daniel N. Gonzalez, Esquire
Florida Bar No. 938777
dgonzalez@melandbudwick.com
MELAND BUDWICK, P.A.
3200 Southeast Financial Center
200 South Biscayne Boulevard
Miami, Florida 33131
Telephone: (305) 358-6363
Telecopy: (305) 358-1221

Local Counsel for Liberty Power Corp., LLC



Copies furnished to:
Daniel N. Gonzalez, Esq., is directed to serve copies of the Order on all parties in interest and to
file a Certificate of Service.




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Exhibit 1


Mailing Information for Case 21-13797-SMG

Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

      Scott Andron sandron@broward.org, swulfekuhle@broward.org
      Paul J. Battista pbattista@gjb-law.com, gjbecf@gjb-law.com;chopkins@gjb-
       law.com;jzamora@gjb-law.com;gjbecf@ecf.courtdrive.com;vlambdin@gjb-law.com
      Daniel N Gonzalez dgonzalez@melandbudwick.com,
       ltannenbaum@melandbudwick.com;mrbnefs@yahoo.com;gonzalez@ecf.courtdrive.com;
       ltannenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com
      Jordi Guso jguso@bergersingerman.com,
       fsellers@bergersingerman.com;efile@bergersingerman.com;efile@ecf.inforuptcy.com
      Heather L Harmon HHarmon@gjb-law.com, gjbecf@gjb-
       law.com;ecastellanos@gjb-law.com;gjbecf@ecf.courtdrive.com;jzamora@gjb-law.com
      Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov
